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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
CHRISTINE M. TESCH,
On Behalf of Herself
and All Others Similarly Situated
Plaintiff,
-VS- Case No. 16-
HON.
PROPOSSED CLASS ACTION

LEIKIN, INGBER & WINTERS, P.C.
Defendant.

LAW OFFICES OF BRIAN P. PARKER, P.C.
BRIAN P. PARKER (P48617)
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/

AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY
NOW COMES Plaintiff CHRISTINE M. TESCH (“TESCH”) on behalf of herself and by

and through counsel, The Law Offices of Brian Parker, PC, brings this AMENDED action
against the above listed Defendants, LEIKIN, INGBER & WINTERS, PC (LIW), on the grounds

set forth herein:

I. PRELIMINARY STATEMENT
1. Plaintiff, CHRISTINE M. TESCH (“TESCH”) on behalf of herself and all others

similarly situated, and demanding a trial by jury, brings this action for the illegal practices of the
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Defendant LIW, inter alia, used false, deceptive, and misleading practices, and other illegal

practices, in connection with its attempts to collect an alleged debt from the Plaintiff and others.

2. Defendant LIW has crafted a letter that eliminates notice to the Michigan Consumer that

any dispute made under 15 U.S.C. Sec. 1692g(a)(4), or demand for verification of the debt, must

be in writing under the FDCPA. In hiding the writing requirement from the consumer, the letter
also eliminates the requirement of the FDCPA that Defendant LIW, upon receiving the notice of
dispute and verification in writing from a consumer, a debt collector must cease collection
activities until it provides the verification of the debt.

3. The Plaintiff alleges that LIW’s collection practices violate the Fair Debt Collection

Practices Act, 15 U.S.C. Sec. 1692 et seg. (““FDCPA”), and Michigan Collection Practices Act

(““RCPA”), M.C.L. § 445.251 et seq.

4. The Michigan Collection Practices Act (MCPA), MCL 445.251 et seq. is an act to regulate

the collection practices of certain persons; to provide for the powers and duties of certain state

agencies; and to provide penalties and civil fines.

5.. “Claim” or “debt” means an obligation or alleged obligation for the payment of money or
thing of value arising out of an expressed or implied agreement or contract for a purchase made
primarily for personal, family, or household purposes..

6. “Collection agency” means a person directly or indirectly engaged in soliciting a claim for
collection or collecting or attempting to collect a claim owed or due or asserted to be owed or
due another, or repossessing or attempting to repossess a thing of value owed or due or asserted
to be owed or due another person, arising out of an expressed or implied agreement. Collection
agency includes a person representing himself or herself as a collection or repossession agency

or a person performing the activities of a collection agency, on behalf of another, which
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activities are regulated by Act No. 299 of the Public Acts of 1980, as amended, being sections
339.101 to 339.2601 of the Michigan Compiled Laws. Collection agency includes a person who
furnishes or attempts to furnish a form or a written demand service represented to be a
collection or repossession technique, device, or system to be used to collect or repossess claims,
if the form contains the name of a person other than the creditor in a manner indicating that a
request or demand for payment is being made by a person other than the creditor even though
the form directs the debtor to make payment directly to the creditor rather than to the other
person whose name appears on the form. Collection agency includes a person who uses a
fictitious name or the name of another in the collection or repossession of claims to convey to
the debtor that a third person is collecting or repossessing or has been employed to collect or
repossess the claim.
7. “Communicate” means the conveying of information regarding a debt directly or indirectly
to a person through any medium.
8. The FDCPA regulates the behavior of collection agencies attempting to collect a debt on
behalf of another. The United States Congress has found abundant evidence of the use of
abusive, deceptive, and unfair debt collection practices by many debt collectors, and has
determined that abusive debt collection practices contribute to a number of personal
bankruptcies, marital instability, loss of jobs, and invasions of individual privacy. Congress
enacted the FDCPA to eliminate abusive debt collection practices by debt collectors, to ensure
that those debt collectors who refrain from using abusive debt collection practices are not
competitively disadvantaged, and to promote uniform State action to protect consumers against
debt collection abuses. 15 U.S.C. Sec. 1692(a) — (g).

9. The FDCPA isa strict liability statute, which provides for actual or statutory damages upon
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the showing of one violation. Courts use the “least sophisticated consumer” standard, an objective
test, when assessing whether particular conduct violates the FDCPA. Harvey v. Great Seneca Fin.
Corp., 453 F.3d 324, 329 (6 Cir. 2006). This standard ensures “that the FDCPA protects all
consumers, the gullible as well as the shrewd.” Kistner v. Law Offices of Michael P. Margelefsky,
LLC., 518 F.3d 433, 438 (6th Cir).

10. Whether a debt collector's actions are false, deceptive, or misleading under § 1692e is
based on whether the "least sophisticated consumer" would be misled by defendant's actions.
Wallace v. Washington Mutual Bank, 683 F.3d. 323, 327 (6" Cir. 2012), Harvey v. Great Seneca
Fin. Corp., 453 F.3d 324, 329 (6th Cir.2006).
11. Applying the "least sophisticated consumer" standard, the Sixth Circuit has adopted the
"more than one reasonable interpretation standard." Kistner, 518 F.3d at 441. Under that
approach, a collection letter can be "deceptive" if it is open to "more than one reasonable
interpretation, at least one of which is inaccurate.” Id. (quoting Clomon v. Jackson, 988 F.2d
1314, 1319 (2d Cir. 1993)). "[T]he 'more than one reasonable interpretation’ standard is
applicable to the entirety of § 1692e as a useful tool in analyzing the least sophisticated
consumer test."

12. The validation notice may not be either "overshadowed" or contradicted by other language or
material in the original or subsequent collection letters sent within 30 days after receipt of the
first one. Swanson v. Southern Oregon Credit Service, Inc., supra, 869 F.2d 1222 (9th Cir.
1988); Harris v. Payco General American Credits, Inc., 98 C 4245, 1998 U.S.Dist.

LEXIS 20153 (N.D. Ill. Dec. 9, 1998)."A notice is overshadowing or contradictory if it would

make the least sophisticated consumer uncertain as to her rights." Russell v. Equifax A.R.S., 74
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F.3d 30 (2d Cir. 1996).
13. To eliminate abusive debt collection practices, the FDCPA, at 15 U.S.C. § 1692g(a) sets
forth requirements for written notice of dispute and validation rights to a consumer. To prohibit
deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the use of false, deceptive, and
misleading collection practices and names a non-exhaustive list of certain per se violations of
false and deceptive collection conduct. 15 U.S.C. §§ 1692e(1)-(16).
14. ‘Plaintiff TESCH is a natural person residing in Wayne County, Michigan. Ms. Tesch is a
“consumer” and “person” as the terms are defined and used in the FDCPA.
15. Defendant LIW, is a Michigan professional corporation, doing business at 3000 Town
Center, Southfield, MI 48075. LIW uses interstate commerce and the mails in a business
principal purpose of which is the collection of debts. LIW regularly collects or attempts to
collect, directly or indirectly, debts owed or due or asserted to be owed or due another. LIW is a
“debt collector” as the term is defined and/or used in the FDCPA. LIW is a “regulated agency”
and a “licensee” as the terms are defined and/or used in the RCPA.
i. JURISDICTION
16. This Court has jurisdiction under 15 U.S.C. § 1692k(d) (FDCPA) and 28 U.S.C. § 1331.
This Court has supplemental jurisdiction regarding plaintiff's state law claims under 28 U.S.C. §
1367. Venue in this judicial district is proper because the pertinent events took place here, the

plaintiff resides here, and the defendants transact business here.

Til. LAW CONCERNING 15 U.S.C. § 16922

17. The FDCPA, 15 U.S.C. §1692g(a) provides that:

Notice of debt; Contents. Within five days after the initial communication with a consumer in

connection with the collection of any debt, a debt collector shall, unless the following
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information is contained in the initial communication or the consumer has paid the debt, send

the consumer a written notice containing:
*(4) a statement that if the consumer notifies the debt collector in writing within the thirty-day
period that the debt, or any portion thereof, is disputed, the debt collector will obtain verification
of the debt or a copy of a judgment against the consumer and a copy of such verification or
judgment will be mailed to the consumer by the debt collector;
17. | Numerous courts have recognized that the FDCPA’s purpose - to eliminate abusive debt
collection practices - would be undermined if subsequent debt collectors were excused from
complying with the requirements contained in section 1692g. Wright v. Ocwen Loan Servicing,
LLC, 12-14762, 2013 WL 5532687, at 4-5 (E.D.Mich. Oct.7, 2013), See, also Lewis v.
Nationstar Mortgage, F Supp.2d —, 13-11693, 2014 WL 1089557, at 7-10 (E.D.Mich. March
18, 2014).
18. Subsection (a)(4) states that if the debtor disputes the debt in writing within thirty days,
the debt collector must obtain verification of the debt and must send the debtor a copy of the
verification. Subsection (a)(5) states that, if the debtor makes a written request, the debt collector
must provide the name and address of the original creditor. Subsection (b) states that if the
debtor disputes the debt in writing within thirty days, the debt collector must cease collection
efforts until the debt collector has verified the debt. Graziano v. Harrison, 950 F. 2d 107 - Court
of Appeals, 3rd Circuit 1991.
19. When interpreting the FDCPA, we begin with the language of the statute itself, see
Consumer Prod. Safety Comm'n v. GTE Sylvania, Inc., 447 U.S. 102, 108 (1980), since the intent
of Congress is "best determined by the statutory language it chooses." Sedima, S.P.R.L. v.

Imrex, 473 U.S. 479, 495 n.13 (1985). Schroyer v. Frankel, 197 F.3d 1170, 1174 (6th Cir. 1999).
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20. The FDCPA’s bona fide error defense at 15 U.S.C. § 1692k(c) does not apply to a
violation of the FDCPA resulting from a debt collectors’ incorrect interpretation of a legal
requirement of the FDCPA. Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 130
S.Ct. 1605, 1611-12 (2010). "[W]here Congress includes particular language in one section of a
statute but omits it in another section of the same Act, it is generally presumed that Congress acts
intentionally and purposely in the disparate inclusion or exclusion." Russello v. United States,
464 US. 16, 23, 104 S. Ct. 296, 78 L. Ed. 2d 17 (1983).
21. The FDCPA states in part, “Its purpose of this subchapter to eliminate abusive debt
collection practices by debt collectors” and “to insure that those debt collectors who refrain from
using abusive debt collection practices are not competitively disadvantaged.” 15 U.S.C. §
1692(e).

IV. POLICIES AND PRACTICES COMPLAINED OF
22. _ It is Defendant’s policy and practice to send initial written collection communications for
its Creditor clients, in the form attached as Exhibit 1 without the requirement that the debtor
must dispute or seek verification of the debt in writing so that Defendant can avoid the cost of
validating the debt and eliminating the FDCPA’s requirement at Sec. 1692g(b) that the debt
collector must cease collection efforts until the debt collector has verified the debt
23. _—_‘In violation of 15 U.S.C. Sec. 1692(e), Defendants, to increase their business and profits,
have knowingly chosen to use debt collection practices that violate the FDCPA and Michigan
law, to the competitive disadvantage of those debt collectors who have chosen to abide by the

law and refrain from using those same unlawful debt collection practices.
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24. The acts and omissions of Defendants done in connection with efforts to collect the
alleged debts from Ms. Tesch and the putative class members were done intentionally and
willfully.

V. FACTS CONCERNING PLAINTIFF CLASS REPRESENTATIVE
25. Sometime prior to November 1, 2016, TESCH allegedly incurred financial obligations to
Tuscan Shores Apartment. Tuscan is considered a Creditor under 15 U.S.C. Sec. 1692a (4).
26. Prior to Defendant LIW’s involvement in the debt, the Tuscan obligation arose out of a
transaction in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes.
27. Due to financial hardship, Ms. Tesch was unable to pay the debt and was alleged to be in
default on the debt. Ms. Tesch filed for bankruptcy and the debt was discharged. Please see
Exhibit 2.
28. The alleged obligation is a “debt” as defined by 15 U.S.C. Sec. 1692a (5).
29. TESCH is, at all times relevant to this lawsuit, a “consumer” as that term is defined by 15
U.S.C. Sec. 1692a (3).
30. TESCH is informed and believes, and on that basis alleges, that sometime prior to
November 1, 2016, the Creditor of the Obligations either directly or through intermediate
transactions assigned, placed, transferred, or sold the debt to LIW for collection.
31. LIW collects, and attempts to collect, debts incurred, or alleged to have been incurred, for
personal, family, or household purposes on behalf of creditors using the U.S. Mail, telephone,
and Internet (www.LI Wlliott.com).

32. LIW is a “debt collector” as defined by 15 U.S.C. Sec. 1692a (6).
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33. On or about November 1, 2016, LIW mailed a debt collection letter for the client
creditor, which TESCH received in the ordinary course of mail. Please see Exhibit 1.

34. The subject letters were sent, or caused to be sent, by persons employed by LIW as a
“debt collector” defined by 15 U.S.C. Sec. 1692a (6). The letter was signed by LIW’s attorney,
George A. Leikin (P16534).

35. The letter was sent to TESCH in connection with the collection of a “debt” as defined by
15 U.S.C. Sec. 1692a (5). Please see Exhibit 1.

36. The 9/03/2014 letter is a “communication” as defined by 15 U.S.C. Sec. 1692a(2).

37. On information and belief, the letters are computer-generated form letter that is prepared
by LIW and sent to consumers like TESCH or the Class Members from whom it is attempting to
collect a debt.

38. In the Letter sent to TESCH and the Class, LIW states:
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CHRISTINE M. TESCH 6-375800DL
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Re: TUSCAN SHORES APARTMENT, A MICH. LIMITED LIABILITY co.
Past Due Amount: $840.00
Our File Number 6-375800

DEAR MS. TESCH:

This office has been retained in connection with the above matter to obtain payment. Kindly pay
this account or contact me regarding your intentions to dispose of this matter.

Your payment payable to TUSCAN SHORES APARTMENT, A MICH. LIMITED LIABILITY CO.
should be mailed to my attention at the address set forth above.

office within said 30 day period that you dispute all or any portion of the debt, | will then obtain
verification of the indebtedness and forward a copy of such verification to you. Any
information which you may provide to this office will be used to recover this indebtedness or

resolve the matter as the case may be.

This debt will be assumed to be valid, by the debt collector, untess you dispute the validity of
| = debt or any portion thereof, within 30 days after you receive this jeter. If you notify this |

If you request this office in writing within 30 days after receiving this notice, this office will
provide you with the name and address of the original creditor, if different from the current

creditor.

If | do not hear from you, it will be assumed that you do not intend to settle this account
voluntarily and appropriate action will be taken.

pm a firm that is a debt collector, is an attempt to collect a debt and any
(ll be used for that purpose.

This communication, fi
information obtained

  
    
 

Please see Exhibit 1.

39. Subsection (a)(4) requires that the debt collector notify the debtor that if they seek to

dispute the debt or seek verification of the debt, the verification must be requested in writing. In
its letter to Michigan Consumers at Exhibit 1, LIW fails to inform TESCH and the Class

Members that are required to dispute the debt in writing when obtaining verification under 15

U.S.C. Sec. 1692g(a)(4).
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40. Defendant seeks to limit the writing requirement to the paragraph under Sec. 1692g(a)(5)
that states:
If you request this office in writing within 30 days after receiving this notice, this office will
ete you with the name and address of the original creditor, if different from the current
f.
41. Defendant is not following the “in writing” mandates of Sec. 1692g(a)(4) by not

including the “in writing” requirements in the following paragraph:

42.

   

sumed to be valid, by the debt collector, unless you dispute the validity of
eof, withir 30 days after you receive this letter. If you notify this

Office within said 30 day period that you dispute all or any portion of the debt, | will then obtain
erification of the indebtedness and ferward a copy of such verification to you. Any

information which you may prc is office will be ;
resolve the ma used to recover this indebtedness or

 

 

      

To save money that would be spent on responding to a consumer seeking verification, the

letter was purposely written by LIW so that the least sophisticated consumer like TESCH and the

Class Members were not advised that Federal law requires they seek written confirmation to

obtain verification that they owe the debt or that LIW had the right to collect on the debt.

43. Asis the case here where LIW is not requiring TESCH and the Class Members to write

their dispute or verification request, LIW initial communication induces the consumer to

purposely waive their rights to seek verification by failing to make the request in writing, as

required. Miller v.Payco-General American Credits, Inc., supra, 943 F.2d 482 (4th Cir. 1991);

Woolfolk v. Van Ru Credit Corp., 783 F. Supp. 724, 726 (D. Conn. 1990); Flowers v.

Accelerated Bureau of Collections, 96 C 4003, 1997 U.S.Dist. LEXIS 3354, 1997 WL 136313

(N.D.IIL. Mar 19, 1997). Contra, Terran v. Kaplan, supra. "A consumer calling the defendant

would not be exercising her validation rights and would not be entitled to the statutory cessation

of debt collection activities." Gaetano v. Payco of Wisconsin, Inc., 774 F. Supp. 1404, 1412 (D.

Conn. 1990).

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44. On information and belief, the statements contained in LIW’s letter at Exhibit 1
constitutes an attempt by LIW to prevent Class Members exercising their dispute and validation
rights under the FDCPA at 15 U.S.C. Sec. 1692g and RCPA at M.C.L. § 445.252(f(ii).
45. Under the Act, notice of the thirty-day validation period is necessary, but not sufficient to
satisfy § 1692g(a). A debt collector must "effectively convey" the notice to the debtor. Swanson
v. Southern Oregon Credit Service, Ine, 869 F.2d 1222, 1225 (thCir.1988). This Court uses
the "least sophisticated debtor" standard to determine whether a communication "effectively
conveys" notice of the thirty-day validation period for purposes of § 1692g. See Smith v.
Transworld Sys., Inc., 953 F.2d 1025, 1028 (6th Cir.1992). Smith v. Computer Credit Inc 167
F3d 1052, 1054 (6" Cir. 1999).
46. _LIW is well aware of its legal duty under the FDCPA to provide consumers notice that
under Subsection (a)(4) and Subsection (a)(5), dispute and verification of the debt and proof of
the original creditor is required to be in writing to be effective. Please see attached letters at

Exhibit 3 written by LIW providing the consumer instructions to dispute in writing that

 

follow the FDCPA’s writing requirement.

47. Further, by hiding the fact that the Consumer’s dispute and verification must be in
writing, the letter is crafted to also eliminate TESCH and the Class Member’s right to have a
debt collector cease collection activities under Subsection (b) which states:
(b) Disputed debts
If the consumer notifies the debt collector in writing within the thirty-day period described
in subsection (a) of this section that the debt, or any portion thereof, is disputed, or that the
consumer requests the name and address of the original creditor, the debt collector shall

cease collection of the debt, or any disputed portion thereof, until the debt collector obtains
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verification of the debt or a copy of a judgment, or the name and address of the original
creditor, and a copy of such verification or judgment, or name and address of the original
creditor, is mailed to the consumer by the debt collector.
48. By having the consumer not seek verification in writing, LIW can continue to collect on
the debt and avoid the delay and expense of having to follow the law under 15 U.S.C. Sec.
1692g(a)(4).
49. Defendant’s violations with respect to its written communications in the form attached as
Exhibit 1 include, but are not limited to, the following:
a. Using false, deceptive, and misleading representations or means in connection with the
collection of any debt in violation of 15 U.S.C. Sec. 1692e;
b. Using false representations and/or deceptive means to collect or attempt to collect any
debt or to obtain information concerning a consumer in violation of 15 U.S.C. Sec. 1692e(10);
c. Failing to properly disclose to the Plaintiff and Plaintiff class members that their right to
seek verification or dispute of the debt must be in writing to be effective under the law in
violation of 15 U.S.C. Sec. 1692g(a)(4).
d. Overshadowing the validation and dispute rights of the Plaintiff under 15 U.S.C. Sec.
1692g(a)(4), and15 U.S.C. Sec. 1692g(b).
50. The FDCPA states in part, “Its purpose of this subchapter to eliminate abusive debt
collection practices by debt collectors” and “to insure that those debt collectors who refrain from
using abusive debt collection practices are not competitively disadvantaged.” 15 U.S.C. §
1692(e).
51. Defendant, to increase their business and profits, have knowingly chosen to use debt

collection practices that violate the FDCPA and Michigan law, to the competitive disadvantage
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of those debt collectors who have chosen to abide by the law and refrain from using those same
unlawful debt collection practices.
52. The acts and omissions of Defendant done in connection with efforts to collect the
alleged debts from Ms. TESCH and the putative class members were done intentionally and
willfully in violation of the FDCPA and MCPA.
53. Ms. Tesch assumed she was free from the terror of collection calls and letters after
entering bankruptcy protection. Defendant LIW’s further collection of a discharged debt and in
a way in violation of the FDCPA and RCPA has caused her to suffer emotional damages and
financial damages and fear as a direct result of the wrongful actions of Defendant as outlined
above and in Exhibit 2.
VI. CLASS ALLEGATIONS
54. This action is brought as a class action. Plaintiff brings this action on behalf of himself
and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal Rules of
Civil Procedure.
55. With respect to the Plaintiff FDCPA Class, this claim is brought on behalf of a class of
(a) all persons in this District in the State of Michigan (b) to whom Defendant sent a written
communication in the form attached as Exhibit 1 (c) in connection with Defendant’s attempt to
collect a debt (d) which written communications violate the FDCPA (e) during a period
beginning one year prior to the filing of this action and ending upon the service of this amended
complaint.
56. With respect to the Plaintiff RCPA Class, this claim is brought on behalf of a class of (a)
all persons in this District in the State of Michigan (b) to whom Defendant sent a written

communication in the form attached as Exhibit 1 (c) in connection with Defendant’s attempt to
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collect a debt (d) which written communications violate the RCPA (e) during a period
beginning four years prior to the filing of this action and ending upon the service of this
amended complaint.

57. The identities of all class members are readily ascertainable from the records of LIW and
the Creditor they collect for. Their attorney Dan Manion signs the letters so LIW knows who
has been sent the letters given his meaningful involvement.

58. Excluded from the Plaintiff Class are the Defendant and all officers, members, partners,
managers, directors, and employees of the Defendant and their respective immediate families,
and legal counsel for all parties to this action and all members of their immediate families.

59. There are questions of law and fact common to the Plaintiff Class, which common issues
predominate over any issues involving only individual class members. The principal issues are
whether the Defendant’s written communications, in the form attached as Exhibit 1, violates 15
U.S.C. Secs. 1692e, 1692e (10), 1692g (4), 15 U.S.C. Sec. 1692g(b) and M.C.L. § 445.252(q),
(a), (f) and (e). Plaintiff seeks Equitable Relief under the RCPA to enjoin Defendant from using
the letter in the form on Exhibit 1.

60. The Plaintiff's claims are typical of the class members, as all are based upon the same
facts and legal theories.

61. The Plaintiff will fairly and adequately protect the interests of the Plaintiff Classes
defined in this complaint. The Plaintiff has retained counsel with experience in handling
consumer lawsuits, complex legal issues, and numerous class actions, and neither the Plaintiff
nor his attorneys have any interests, which might cause them not to vigorously pursue this

action.
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62. This action has been brought, and may properly be maintained, as a class action pursuant
to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-
defined community interest in the litigation:
a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges, that the
Plaintiff Classes defined above are so numerous that joinder of all members would be
impractical; and
b. Common Questions Predominate: Common questions of law and fact exist as to all
members of the Plaintiff Classes and those questions predominate over any questions or issues
involving only individual class members. The principal issues are whether the Defendant’s
written communications, in the form attached as Exhibit 1, violate the FDCPA and RCPA; and
Cc. Typicality: The Plaintiffs claims are typical of the claims of the class members.
Plaintiff and all members of Plaintiff Class have claims arising out of the Defendant’s common
uniform course of conduct complained of herein; and
d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the class
members insofar as Plaintiff has no interests that are adverse to the absent class members. The
Plaintiff is committed to vigorously litigating this matter. Plaintiff has also retained counsel
experienced in handling consumer lawsuits, complex legal issues, and class actions. Neither the
Plaintiff nor her counsel has any interests which might cause them not to vigorously pursue the
instant class action lawsuit; and
e. Superiority: A class action is superior to the other available means for the fair and
efficient adjudication of this controversy because individual joinder of all members would be

impracticable. Class action treatment will permit a large number of similarly situated persons to
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prosecute their common claims in a single forum efficiently and without unnecessary duplication
of effort and expense that individual actions would engender.
f. Whether LIW’s form letter made misrepresentations and violated the FDCPA and RCPA.
63. Certification of a class under Rule 23(b)(1)(A) of the Federal Rules of Civil Procedure is
appropriate because adjudications with respect to individual members create a risk of
inconsistent or varying adjudications which could establish incompatible standards of conduct
for LIW, which, on information and belief, collects debts throughout the United States of
America.
64. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is
also appropriate in that the questions of law and fact common to members of the class
predominate over any questions affecting an individual member, and a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.
65. Depending on the outcome of further investigation and discovery, Plaintiff may, at the
time of class certification motion, seek to certify a class only as to particular issues pursuant to
Fed.R.Civ.P. 23(c)(4).
VII. FIRST CAUSE OF ACTION
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
(AGAINST DEFENDANT LIW)
66. Plaintiff realleges and incorporates by reference the allegations in the preceding
paragraphs of this Complaint.
67. Defendant violated the FDCPA. Defendant’s violations with respect to its written
communications in the form attached as Exhibit 1 include, but are not limited to, the following:

a. Using false, deceptive, and misleading representations or means in connection with the

collection of any debt in violation of 15 U.S.C. Sec. 1692e;
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b. Using false representations and/or deceptive means to collect or attempt to collect any
debt or to obtain information concerning a consumer in violation of 15 U.S.C. Sec. 1692e(10);
c. Failing to properly disclose the “in writing” requirement of 15 U.S.C. Sec. 1692g(a)(4)
and 1692e; and

d. Overshadowing the validation and dispute rights of the Plaintiff under 15 U.S.C. Sec.
1692g(a)(4) and (b) by eliminating the “in writing” requirement in Exhibit 1.

e. Eliminating the requirement that a debt collector cease any and all collection activities
under 15 U.S.C. Sec. 1692g(b) in Exhibit 1.

Wherefore, Plaintiff seeks judgment against Defendant for:

a. Statutory and Actual damages for Plaintiff in the amount of $1,000.00 pursuant to
15 U.S.C. 1692k(a)(2)(A) and (B);

b. Statutory damages for the members of the FDCPA Class, pro rata, in the amount
of the lesser of $500,000.00 or one percent centum of the net worth of Defendants pursuant
to 15 U.S.C. 1692k(a)(2)(B);

c. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. 1692k(a)(3); and;

d. Such further relief as the court deems just and proper.

Count 2- Regulation of Collection Practices Act
68. Plaintiff incorporates the foregoing paragraphs by reference.

69. Defendants have violated the RCPA. Specifically:

a. Defendants violated M.C.L. § 445.252(e) by making an inaccurate, misleading, untrue, or

deceptive statement or claim in a communication to collect a debt with the use of Exhibit 1; and
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b. Defendants violated M.C.L. § 445.252(f) by misrepresenting in a communication with a debtor
the following: (i) the legal status of a legal action being taken or threatened, and (ii) the legal rights

of a creditor or debtor by using Exhibit 1; and

c. Defendants violated M.C.L. § 445.252(q) by failing to implement a procedure designed to

prevent a violation by an employee by using Exhibit 1; and

d. Defendants violated M.C.L. § 445.252(a) by communicating with a debtor in a misleading or

deceptive manner with Exhibit 1.

Wherefore, Plaintiff seeks judgment against Defendants for:

a. Statutory damages for Plaintiff in the amount of $50.00, trebled to $150.00 for a willful
violation, pursuant to M.C.L. 445.257(2);

b. Statutory damages for each member of the MOC Class in the amount of $50.00, trebled to
$150.00 for a willful violation, pursuant to M.C.L. 445.257(2), and without regards to
defendant’s net worth;

c. Equitable, declaratory and injunctive relief pursuant to M.C.L. 445.257(1), including but
not limited to, a declaration that defendant’s debt collection practices violated the RCPA,
as well as an injunction, enjoining Defendants from using Exhibit 1 letters which violates
Michigan law; and

d. Reasonable attorney’s fees and court cost pursuant to M.C.L. 445.257(2).

JURY DEMAND

Plaintiff hereby demands that this case be tried before a jury.

/s/ Brian P. Parker
Dated: November 29, 2016 Law Offices of Brian P. Parker, P.C.
Attorney for Plaintiff
